Case 1:04-cv-01206-.]DT-STA Document 30 Filed 06/07/05 Page 1 of 3 Page|D 43

Fit.ED ev_,`, z DC
IN THE UNITED STATES DISTRICT COURT ' '
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN “7 PH 22 |,1,

EASTERN DIVISION

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clair us DD;YOUP

D. oF m JACKSON
IN THE MATTER oF THE coMPLAINT)
oF MAGNoLIA MARINE TRANsPoRT )
coMPANv, As oWNER AND )
oPsRAToR or THE M/v DENNIS ) NO. 1_04_1206-T_An
Ross, HER ENGINES, TACKLE, arc )
FOR EXONERATION FROM OR )

)

LIMITATION OF LIABILITY.

 

ORDER

 

On May, 9, 2005, Claimants filed a renewed motion to lift the stay order imposed by
this court pursuant to the Limitation of Shipowner’s Liability Act, 46 U.S.C. § 181 et seq.
The court denied Claimants’ motion under Comp_laint of Midland Ente;r_)rises, Inc., 886 F.2d
812, 817-18 (6th Cir. 1989), and ordered Claimants to either contest the value of the ship
pursuant to the Federal Rules of Civil Procedure Supplemental Rule F(7) or concede its
value. On May 25, 2005, Clairnants sent the court a letter stating that they conceded that the
value of the ship was $1,764,942.30. However, it is not the court’s usual practice to
consider a letter as an official document in a case. If Claimants Wish to concede the value
of the ship they must do so in an official document. Defendant Will then have ten (10)

days to respond to any filing by Claimants. Therefore, the stay order remains in effect

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pending resolution of this issue.

IT IS SO ORDERED.

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-01206 Was distributed by faX, mail, or direct printing on
.1 une 8, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

